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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-252

vs.
                                                FINAL ORDER OF
BRICE LENHARD,                             FORFEITURE AND JUDGMENT

                  Defendant.

       This matter is before the Court on its own motion and on the plaintiff's
Motion for Forfeiture Money Judgment. Filing 110. The plaintiff seeks
forfeiture in the form of a money judgment against the defendant in the
amount of $45,000. In a Preliminary Order of Forfeiture, dated July 23, 2014,
the Court previously found that the defendant should be ordered to pay
$45,000, and granted the plaintiff's motion. See filing 121. At that time, the
Court noted that the preliminary order would become final at sentencing, at
which time the Court would enter a separate judgment. See filing 121.
       The Court continues to find that entry of money judgment in the
amount of $45,000 is appropriate. The defendant has been sentenced, and the
preliminary order is now final. See Fed. R. Crim. P. 32.2(b)(4)(A).

      THEREFORE, IT IS ORDERED:

      1.    The defendant shall forfeit to the United States $45,000,
            and judgment is entered against the defendant and in favor
            of the plaintiff in the sum of $45,000.

      Dated this 14th day of October, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
